                               Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 1 of 36




                                                                                         l 'NITE I> STAT ES O.-\S KR li l'TCY COC RT
                                                                                   SO LT HER:-;< "\:\'0 WESTElt8 DISTIUCT S OF TE XA5
                                                                                                 ...
                                   !
           CA SE :\,A~ I E: Garden Oaks Maintenace Organization, Inc .                                                                      I'Clilio u Da le:   I                  41111201 8

                                                                                                                                                       CASE .'li l.: MIlER:                     18·60018
                                                                                                       --;::-:-:=:-;:----- - - -
T HI S REPORT IS FO R TIl E .\ IO:-;<TH/ YEAR (exam[II \!: AI.-\ \'11995) OF . June-201B


All [mlivid \lll i D~blOr-II\- PoSS ~ 5S i\l11       Ch~cklO!:!.   Snv;ngs. Broh'ra!:!c "\C(ounIS:               All Non-D.:bcor-[n-[>oss.:ssion ACl:o unc~ :

BANK NAME                                                                     ACCOUNT NO :                       B,.\NK NAM E:                                                           ACCOU NT NO.:


                                                                                                                 1~
                                                                                                                  1 ======~I11 ==~
I.! Prosperi ty Operating                                                                 217186856
                                                                                                                                                                                       ,;::
                                                                                                                                                                                        1
~.I Properity Non-Operating                                                               217186864              ,1
                                                                                                                 31         1';=1= = =:;---
A copy of a r eco nciled statement sho uld be attached for each alld all accounts.
                              $ 5.547.48                                       +      1                           $ .00                               1     =        - - - - ;$:-:5:-:.5-:-:
                                                                                                                                                                                        47:-,.."'8---
TO!a l Disbursements frum MOR-7                                                                        Total Disbursements {i·om MFR-2                                        TO[:11 Disbursements
Or Small Business Exhib it 8 - 1
          (\\~.cn   Ih.: d~loIor 'i 3 jQr~ Pf"Ol'(W llrsh.p)

Are 311 j.IOS1-lXririon li:lbitilit's. illl:illJil1!! IJ.>':'::S, hl'ing IJuit! wilhin ll'nl1S~ Yesf7 ~n r
}-[(I\-l' (IllY pr..:-p.::lI lmll li"bllitlcs bcen paid ·~ Ye5         ;\0 f7 11" 50. c"~p hll n CIC",C,CkC,C,C"C.7;,CwC,CdC,C"C,Cp7IC,.Cg.CI"'~:::-:'-.,CpCpc"C.C'CdC'C          ..-,7h-~-OC,h-.------------
                                                                                                                                                                       M.,..p'CId.,..

Are all U" S TI"\JSI~l' Q\lanl'rly Fcc: Paymcnls curr~I1I? YesY:-/or

Wha t is tht' ilotus oryullr Plan orRcorgn niz'lIion"!
                                                                     --------------------------------------
                                                                     unknown as of July1 9,2018
·· · The origin:ll orlhis         d{l~lIl11enl    must he filed \\ ith Ihl' Unill'u SImes Bllnkr\lplcy Co urt null 11 COllY IIIust he sent 10 Ih~ United S'.1h!sTmslt'l'·"'"

 .·\ttorncy i\"1I1ll c: IJ')/lnO! Pa ll e,son
  fi r m: I Wall<el '!' P~l\ft'50"                                                                        1 c..:nlfy Ilndl'r p.::I1ahy o ( pcljllry thai the: fl.llowing C(\ IIIPkl~
 Address: Ipo 80 . 6 1301                                                                                 Monl hly Financial Report /~lFRJ. eonsisllng or MfR- 1 through
                                                                                                          MFR-) pl us auadunenlS, is lru~ and correct
 Add ress: I
 City Strite, Z ill : I HauslOn " TX 172011
 Teleph one: 17 13956-5577                                                                                SIGNED~ :::;;;;....1.;;.
                                                                                                                                      (ORIGINAL S[GNATURE)
                    MFR· l
                         Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 2 of 36




                                                                  UNIT ED STATES BANKRUPTCY COU RT
                                                              SOUTHE RN At'l J) Wt:STERN DIST RI CTS OF TEXAS
                                                                          H ousto n      DIVIS ION

             CASE NAME: Garden Oaks Maintenance Org., Inc.                                                          Petition Date:    4/1 1/20 18
                                                                                                                              CASE NUl\·IB E R:       18-60018


MONTHLY OPERATING REPORT SUMMARY FOR MONTH                                                                          May              YEAR 2018
                                                                  4/20 18            5/2018
                           MONTH                                                                       6/20 18
                                                                  82,222.71          179.24
 REVENUES (MOR-6)                                                                                      70,495.73

 INCOi\ IE BEFORE INT , DEPRECJfAX (MO R·6)
                                                                  75,033.71          3164.52           64,948.25
 NET INCOME (LOSS) (M OR·6)
                                                                  75,033.71          3164.52           64,948.25
 I'A Yi\IENTS TO INSID ERS (MOR·9)

                                                                  4953.14            (-4953.14)
 PA YMENTS T O I'ROI'ESS IONAlS (1\IOR·9)                                                              2042.65
 TOTAL DlS II URS EM ENTS (l\WR·8)
                                                                                     4002.86           5547.48

· · · The origina l nf this documem must be nl cd with the United States Bankruptcy Coun and a copy must be sent to thc United States Trustee" ·
                                                                                                                                        CIIICI.E OH
                                                                         Are all accounts receivable bcing col1cctcd within tcnns:,r M No Cash Basis Accounting
REQUIRED INSURA NCE MM N TAlN ED                                         Arc all posI'J!'=tition liabilities, including ta.~es. being paid'wmiin terms? ~ No
 AS OF S IGNATUR E 0 ,\ TE    EXI'.                                      Havc any pre.petition liabilities bccn paid? Yes@ Ifso. dcscribc
                                                DATE
                             rESt j,WJi j
                                                                          to"oices recieved reviewed and paid each moolh Excep' Attornel' fees
C.... SVAI.TI"
U,\Bfun                      1"1;:$/ INC)( I                             Arc all funds l\.'Cci ved being depos ited into DIP bank accounts:' ~ No As 01 June 4, 20 18
VE II/ CLE                   ,'''·S( J,v(}( J                            Were an y assets disposed of outs ide the nomlal course of business . Ve~ ~
1I"0/f1\,,·/f·S              I'I;:S( I No/ j
OTlle R,_ _ __       _
                                    ''' 01                               Ifso. describe ---=---,--OO--O-- - --CCCO;=""".,-- - - - - - - - - - - - -
                             rl;:S(         I
                                                                         Are all U. S. Trustcc Quancrly Fcc Payments current:' @  No
                                                                           What is tho.: status of your Plan of Reorganization :'
An·ORNEY NAME: . ~~n~le. t"'atterson                                                    0'      0'
                                                                           II"known as date tbis filing
FIRM: Walker & Patterson
ADDRESS: P.O. Box 61301                                                                      I ccnify under penalty of perjury th:ll the followin g comph:t..:
ADDRESS:                                                                                     Monthly Operating Repon (MOR). consisting of MOR· 1 through
CIT Y. STATE ZIPH ousl on, T X 77208                                                         MOR·9 plu~ attachme nts. is true and correct.
TELEPHONE(71 3) 956-5577
                                                                                             SIG NE D_    _   _ _~==,.,.,====----
                                                                                                                 (ORIGINAL SIGNATURE)



                  MOR-I                                                                      TITLE OffjeR Mgr, GOMO
                                    Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 3 of 36




                       CASE NAME: Garden Oaks Maintenance Org., Inc.                                                  CASE NUMoER,   _1'.08o:-~60~0,-,1,-,,8~_


                                                    COMPARATIVE BALANCE SHEETS
                                                 ftUNG DATE'         MONTH             MONTH              MONTH           MONTH             MONTH                MONTH
ASSETS                                          4/11 /2018           412018            5/20 18            6/2018          7/20 18          8120 18               912018
CURRENT ASSETS
C"h                                            501 ,708.65        576,688.80        579,853.32
                                                                                                     644,801.57
Accounts           R~"Ccivabl c.   Net

Inventory: Lower of Cost or Mark~1

Prep3iu Expenses

Investments

Other

TOTAL CUR RENT ASSETS

PROPERTY, PLANT&EQUIP, @ COST                  5058.29            5058.29           5058.29          5058.29
Less Accumulated Depreciation                  (-3990.49)         (-3990.49)        (-3990.49)      I (-3990.49)
NET BOOK VALUE OF PP & E                       1067.80            1067.80           1067.80              1067.80
OTHER ASSETS:

 1. Tax Deposits

 2. Investments in Subs

 3.

 4.   1 ~II .. h   11.<1)


                                               502,776.45         577,756.60        580,921. 12          645,869.37
      TOTAL ASSETS
                                                               *Pcr Schedules and Stiltement of Aft:ms
                            MOR-2
                                 Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 4 of 36




                  CASE NAME:              Garden Oaks Maintenance arg., Inc.                                                      CASE NUl\UJE R:   18-60018




                                                                COMPARA TIVE BALANCE SHEETS
LIABILITIES & OWNER'S                                      FILING DATE "                              ,                   MnNT"                        ,
EQU ITY                                                  4/11 /20 18              14/20 18J         \5/20 18 L       \6/20 18\        \7/2018\           \8/2018\     \9/20 18 \
LIABILITIES:
   l' OST. I' l.' IT ION L1 A UILI TIES    h\IOM . ~ )


  PKE·PI!TI'rJON U ABIUTI £S :

   /1101",   P3Y"bI~.5<'Cuml


   l'nor;,)' Deb,

   I'cd~ .. 1 Income   l'u

   FICAiW;,hholding

   Un,rcured Debl

   Oihcr

 TO'r Al.I' K}:· I'ETIT IO N Ll AlI l l.rr ..:s


TOTAL LIABILITIES

OWNERS'S EQUITY (DEFI CI T):
 PItEFERKED STOCK

 COM MON STOCK

ADD ITIONA L PAl ll· IN CA I'lTA L

KI:"AlNEll EA KNlNGS: Filin!       O~I"


linAINED EARNINGS: POSI .,Iin!            0.,,,
TOTAl. 0 \\'/Io' EIt'5 EQ UITY [/IIET WO lt'rll 1


TOTAL LlABILlTIES & OWNER'S
EQUITY

                         MOR-3                                             . Per Scher/IJlec; and Statement qI A ffairs                              iln<yJ;III/-wn
                    Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 5 of 36




          CASE NAME:      Garden Oaks Maintenance Org .! Inc.                   C,\ SE NUMBER:   18-60018


                                     SCHEDULE OF POST-PETITION LIABILITIES
                                                        MONTH   MONTH   MONTH        MONTH          MONTH   MONTH



TRADE ACCOUNTS PA YABLE

TAX PAYABLE :

 Federa l Payroll Taxes

 State Payroll & Sa les

 Ad Va lore m Tuxes

 Other Taxes

TOTAL TAXES PAYABLE

SECURED DEBT POST-PETITION

ACCRUED l NTEREST PA VABLE

' ACCRUED PROFESSIONA L FEES,

OTHER ACCRUED LIABILITIES,

 1.

 2.

 3.

TOTAl. POST·PETITION LIABILITIES (1\!IOR-3!
  • Payment Rcquircs Co urt Approval.
               MOR-4
                    Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 6 of 36




           C,\ SE NAME : Garden Oaks Maintenance Org., Inc.                       CASE NUM"ER,      18-60018


                                             AGING OF POST-PETITION LIABILITIES
                                                     MONTH _ _ __

DAYS                TOTAL         TRADE ACCTS         FED TAXES   STATE TAXES      AD·VALQRE1\·1.              OTHER
                                                                                   OTHER TAX ES

  0·30

 3 1·6()

 61·90

  91 .

TOTAL




                                                AGING OF ACCOUNTS RECEIVABLE


            MONTH

           0-30 DA YS

           31·60 DAYS

           61·90 DA VS

           91+DAVS

            TOTAL

               MOR-S
                                               Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 7 of 36




                           CAS E N..\M E:                Garden Oaks Maintenance Org ., Inc.                                                          CASE NUi\ IHEIt :   18·60018


                                                                                              STATEMENT OF INCOME (LOSS)
                                                                                411112018                    412018       512018       612018                                         rll . l:-;" f; TO DAn:
                                    MONTH


  REVENUES (MOR· I)                                                             53.56                        82,222.71    179.24       70.495.73                                     ,,?   O~ 1 ?~

  TOTAL COST OF REVENUES

  GROSS ['ROFIT                                                                 53.56                        82,222.7 1   179.24       70,495.73
                                                                                                                                                                                     152951.25
  OI'ER,\TING EX I' ENSES:

        Selling & Marketing

        General & Administrative
                                                                                                             2235.86      1967.86      3504.83                                       7708.55
        Insiders Compensation

                                                                                                             4953.14      (-4953.14)   2042.65
        Professional Fees                                                                                                                                                             2042.65
        Other lall.I<h li,11



  TOTAL OPERAT ING EXPENSES                                                                                  7189.00      (-2985.28)   5547.48                                        9751.20
  I " CO\ I ~:    IIH'O IU; !.''IIT. I.U: I' K/r,\X 1.\ l OR·I.

  '1'TI:.II.I:.ST Io:.'I: "I:.:·ISI::

  IJIOI'IU::CIATIO:-;"

  o 'rlU: II. IIKCOMI:.IIo:.'("I:.NSI:.'

  Ort.t:lI. ITf_\l S"

  l 'OTAL IXT. DEI'It."                 (lTJI~: 1t   lT D ' S

  NET INCOl\ IE UEFonE TAXES                                                    53.56                        75,033. 71   3164.52      ~A   QAR ?<;                                   14:120004
  FEDERAL I NCOi\ IE TAXES

  NET INCOi\!E (LOSS)                             (~IO]{-1)                     53.56                        75,033.7 1   3 164.52     "4 o4R?~                                       141 ?OO 04
    , I'~'m"/ . I"" 'H"'''''~ 1/"/,,,1<"/.      0,/"·",,,.. f"'J"~" " b,,/WW"""
                                                                        \\"iI
   f'H"n,,,,< ,\I,m,/,,,,,,,
•• Un",,~,1 "",v,," mln"I''''ni 1I,'IItls i ,,,,m./,·/I,;· ""I"~"'·,·..""""fb ,,,i,,.·,.,: ,,·.I";,..·. fi".""",·
                                        MOR-6
                                        Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 8 of 36




                 CASE NAi'I'IE:             Garden Oaks Maintenance Org., Inc.                                                                            CASE NUI\'l I1 ER:      18-60018


CAS H RECE IPTS AND DISBURSEMENTS                                                     MO,, '1'1I                    MOI'ITH          MONT I!    MO,VTII            ,\IO .....TH       MO,Y l'n   S I X~IONTI1 S TO

                                                                                   412018                         5/2018           612018       7/20 18         8 /2018             9/2018             I>ATE

 I. CAS H . BEG INN ING OF MONTII                                                501 ,655.09 576,688.80 579,853.32
lu:n: ll'TS:

 ! . CAS II SAL ES                                                               82,169.15                    125.00             70423.42
 J. COl.LEcnON m ' ,\ CCOUN'rs                     ~ECE I VAUI.E


 ~. 1.0Ao'''S    &   AU\'ANn:Slo Ll u~h       IMI

 5. S,\U: Ot' ASSETS

 ~.   OTlU:R lallarn Ii<U                                                        53.56                        54.24              72.31
TOTAI.RECE II'TS                                                                 82 ,222.71                   179.24             70495.73
IWlthdra ..·.l1Conu ih .. lion h,        Ind;.k1ulll l ~ll1or ~U' R·2·



Ul SUU RSDlt;NTS:

 1 . Nt;T 1' ,\ \ ' !tOU.

 II, I'A" MO I.I. TA.U ;S 1'.1.11)

 ~.SAU:S.        US t: & OTH ER TAX t:S 1',\ (1)

Ill. SECUM.: U I REI'IT AI. I U ;AS t:S                                          950.00                       950.00            1950.00
I I. UT l l.l'r1t:S

I!.INSU RANCE

IJ.INV.:.... TOMY l'URC IIASt:s

I~.   \' t:III C U : 1':'''.:I'£NSt:S

15. 1'R,W t:1.       /I; t:.'l/n; MTAIN~U: :01'T

lb. REI',\IMS. MA INn ;NANC£ & SU I'I' I. 1t:S

11. AIl .\ l1 NI.!,-nIAT IVE & SE LLI NG                                         1285.86                      1017.86           I ? '" ' ' A'
III. OTilER laUach lisl l

TOTAl. IlI SIIUMS[ ,\I ,:,,-rS nco,\1 O I'I::RATIONS

19. I'Mon:SS IONAl. n ; t:.s                                                     4953.14                      (-4953.14) I ?M?""
!O. u.s. T~ UST££ ,' £ t::S

!l. O' rlII:\!    M£OMG ,\ N I 1~ \·no ...    I;XI" : NS I:S (1I I1 n~ h listl

TOTAL IlISHURSUIENTS                                                             17189.00   1(_?QA" ?A\ "'''7 "A
l2. NKI" CAS U FLOIII                                                             75,033.71  3 164.52   0, ' QAO " "
!).   CAS II .   [ I'll)   OF MONTH (",,,r.ll                                    576,688.80 579,853.32 0, on ' "

                           MOR-7                                                  "Appl ks   In   Indi,'idu:tl lkln.,,', only
                             Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 9 of 36




            CASE N,\(\'IE:   Garden Oaks Maintenance erg., Inc.                                         CASE NUf','IHER:   18-60018




                                                         CASH ACCOUNT RECONCILIATION
                                                           MONTH OF Aoril/2018
UANK NAME                                     BBVA Co m~as ,       BBVACom~as,        BBVACom~as,
                                                 0085150596           6725037617          6735357245
ACCOUNT NUI\'IHER                            #                    #                   #
                                                                      AOdI Checking        Money Mkt.
ACCOUNT TYPE                                     QE.EBA[ING           -£>:1t:RQH:--            -- ~----        Q [HER FIJliQ5.                 IQIM

DANK BALANCE                                 0                    (-68.30)            0                                           (-68.30)

DEPOSIT IN TR,\ NS IT

OUTSTANDING CHECKS

ADJUSTED BANK B,\LA NCE                      0                    (-68.30)            0                                               (-68.30)

BEGINNING CAS H · I'ER BOOKS                 76,671.03            461.14              502,721. 15                                     579,853.32

RECE IPTS                                                                             72.3 1                                          72.31
TRANSFERS BETWEEN ACCOUNTS                   76,671.03                                502,793.46                                      579,464.49
(WITHDRA WAL1CONTRIBUTION·
ov INDIVlDUAL DEBTOR t'lIFR-2
CHE CKS/OTHE R DISBURSEtl.IENTS                                   529.44                                                              529.44
ENDING CASH· PER BOOKS                       0                    (-68.30)            0                                               (-68.30)


                MOR-S
                                   Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 10 of 36




                 CAS E .'1'\,\ 11:::   Garde n Oaks Maintenance Org .. Inc.                                   C,\ S£ ,'1Ui\ IIlER:   18-60018




                                                                           CASH ACCOUNT RECO'lC llI ATION
                                                                             MONTH OF

8A ."'''' .'1:\ .\ 1£                                      Pros l2e rit~         Pros~e r it}!

ACCO I,;NT NUM HElt
                                                             217186856               217186864
                                                        #                       #                    #
                                                                                    Non 0r.erating
.-ICCOD'T Trp£                                                QEEBtJ.[IJ:1.Q          "Ea i'K'i:~        IM            QTHE.R FUNDS.                              IQIM

R.\~'" I1ALA ."'CE
                                                       84,947.35                560,872.52                                                  645,819.87

DEPOSIT 1.'1        TR.-\~ S I T


OlTSTA .... OING ( IIE(KS
                                                       950.00                                                                               950.00

ADJL: STEO B,\ ..... K OA LA .... CE
                                                       83,997.35                560,872.52                                                      644,869.87

B£G I "'~ I NG          CASH - PER OOOl-.;S
                                                       0                        0                                                               0

RECElP'TS
                                                                                70,423.42                                                       70,423.42

TR.\;\,S F£ltS aETW EE~ :\ CCO Ui'ns
                                                       89,215.39                490,449.10                                                      579.664.49

lW lTllDRA WAL JCU,'1T IU8UT IO;\'-
BY I ;\,OI VlOlA L DEBTOR i\ I FR-2

C HE CKS/OTHER D1SI1UilSE.\II:::'iT S                  5218.04                                                                                  5218.04

El'\DI :\'G CAS H - PER BOOKS                          83,997.35                560,872.52                                                      644.869.87


                          MOR-S                                                                                                                 .',,,,,,.1.·1'"
                          Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 11 of 36




     CASE NAl'I'IE:        Garden Oaks Maintenace Org., Inc.                                                     CASE NUMBER:            _1.:;8=---=6,,0,,0,,1-=8,-_


                                                             PA YMENTS TO INSIDERS AND PROFESSIONALS
Of the total disbursements shown for the month, tist the amount paid to insiders (as defined in Section 101(3 1)(AHF) of the U. S. Bankruptcy Code) and the
professionals.        Also, for insiders identify the type of compensation paid (e.g., salary, commission, bonus, etc.)   (Attach additional pages as necessary.)


                                                                  MONTH           M 01lo"T1l         M01loT li            MO NTH                          M O:"l'T1i    MONTH
          INS] I)UtS, NA .\ I£II'OS]T IONICO.\ II' n " ' E




I.

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6.

TOTAL INS m f. II.S 11>]011.· 11




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                       1'1I.0f.:SSIONALS
                      NA" n :tQ lI.m: 1I. DATE                     412018       5/2018

I.     BarsaloulAm 20 18                                       4953.14        (-4953.14)       I ?04? h'i
2.

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6.

TOTAL 1'1I.0n:SS ION ALS 1,\ 10 11.·1 1


            MOR-9
                   Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 12 of 36

                                                             GOMO
                                             PREVIOUS PERIOD COMPARISON
                                                             June 2018



                                                                                                     TOTAL
                                                                                             JUN 2018        MAY 2018 (PP)
Income
 Interest Income                                                                                72.31                54.24
 Transfer Fees
  Section 1-Transfer Fees                                                                    42,904.25
  Section 3-Transfer Fees                                                                    12,387.92
  Section 5-Transfer Fees                                                                    15,131.25
 Total Transfer Fees                                                                         70,423.42
 Uncategorized Income                                                                                               125.00
Total Income                                                                                $70,495.73             $179.24
GROSS PROFIT                                                                                $70,495.73             $179.24
Expenses
 Bank Service Fees                                                                                0.00               38.00
 Computer and Internet Expenses
 Cloud Storage Fees                                                                             111.93              111.93
  Internet Service Fees                                                                          81.62               81.62
 Total Computer and Internet Expenses                                                           193.55              193.55
 Insurance Expense
  Insurance - Other                                                                           1,155.00
 Total Insurance Expense                                                                      1,155.00
 Legal Fees                                                                                   2,042.65
 Office Supplies and Expenses                                                                   116.64
 Office/General Administrative Expenses                                                          10.00               10.00
 Postage and Delivery                                                                                                50.00
 Printing and Reproduction                                                                                            6.50
 Professional Fees
  Accountant, Audit and Tax Prep                                                                 60.00               65.00
  Office Manager                                                                                883.75              647.50
 Total Professional Fees                                                                        943.75              712.50
 Rent Expense                                                                                   950.00              950.00
 Telephone Expense                                                                              135.89                7.31
Total Expenses                                                                               $5,547.48           $1,967.86
NET OPERATING INCOME                                                                        $64,948.25          $ -1 ,788.62
NET INCOME                                                                                  $64,948.25          $ -1,788.62




                                          Cash Basis Tuesday, July 10, 201804:19 PM GMT-7                               1/1
                                   Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 13 of 36


                                                                                                                                                 GOMO
                                                                                                         Compass Debit 7617, Perio d Ending 06 /30/2018

                                                                                                                             RECONCILIATION REPORT

                                                                                                                                Reconciled on: 07/ 10/2018

                                                                                                                          Reconciled by: Sarah L Crowder

Any changes made to transactions after this date aren'l included in this report.

Summary                                                                                                                                                                                                                                                                                         USO

Statement beginning balance ....... ....................................... ....................................... ....................................................................................................................                                                            ·68.31
Checks and payments cleared (5). ......................................................                                                                                                                                                    .................................................... ::'570.94
Deposits and other credits cleared (3). ...................................................                                                                                                                                                                                                      .~
Statement ending balance...            ..........................................................                                                                                                                                                                                             ..... -68.30

Register balance as of 06130/2018........... __         ..................... ................._.. _........................ ..........................                     ............................                                                                           ............-68.30
Cleared transactions after 06130/2018.... _             ._........................................................................................_................................                                                                  ..........................___ .................0.00
Uncleared transactions after 06130/2018_ ..... ___...... _ ...................... .................._ .........._......... _                                                                                                                                                       ...... 1,000.00
Register balance as of 07/10/2018_ ....... _ _..___... _ ......................... ................_ ..........................                                                                                                                                                          ....931 .70


Details

Checks and payments cleared (5)

DATE                                                         TYPE                                                         REF NO.                                                       PAYEE                                                                            AMOUNT (USO)
06/04/2018                                                  Check                                                         ATM                                                          Garden Oaks Maintenance Or. .                                                                       ·203.50
06/15120 18                                                 Check                                                         DC                                                           Corneast                                                                                              -81 .62
06/20/2018                                                  Check                                                         DC                                                           Box.net                                                                                              -111 .93
06/26/2018                                                  Check                                                         DC                                                           Ooma, Inc.                                                                                          -135.89
06/27/2018                                                  Joumal                                                        NSF FEE                                                                                                                                                            -38.00

Total                                                                                                                                                                                                                                                                                   -570.94

Deposits and other credits cleared (3)

DATE                                                         TYPE                                                          REF NO.                                                      PAYEE                                                                            AMOUN T (USO)
05/15/20 18                                                 Check                                                         2618                                                         Garden Oaks Maintenance Or. .                                                                         529.45
06/05/2018                                                  Journal                                                       REVERSE BANK FEE                                                                                                                                                      3.50
06/05/2018                                                  Journal                                                       REVERSE BANK FEE                                                                                                                                                     38.00

Total                                                                                                                                                                                                                                                                                     570.95


Additional Information

Uncleared deposits and other credits after 06/30/2018

DATE                                                         TYPE                                                          REF NO.                                                      PAYEE                                                                            AMOUNT (USO)
07106/2018                                                   Check                                                        2706                                                          Garden Oaks Maintenance Or ...                                                                   1,000.00

Total                                                                                                                                                                                                                                                                                 1,000.00
               Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 14 of 36



Page 1 of 4
Primary Account: 6725037617                                        I3I3VA Compass
Beginning June 1.2018· Ending June 30. 2018           30




          21     GARDEN OAKS MAINTENANCE ORGANIZATION INC
                 4001 N SHEPHERD DR STE 216
                 HOUSTON TX 77018-5507




    BusinessClass Preferred
                                                                      Contacting Us
                                                                      A\laRable by phone 24n
Your BBVA Compass Account(s)                                   Phone 1-600-266-7277

Please see important message regarding your                    Online bb...acompass.com
CLEARCONNECT FOR BUSINESS account                              Write aeVA Compass
                                                                     Customer Service
                                                                     P.O, Bo)C 10566
                                                                     Birmingham. AL 35296


Summary of Accounts
Deposit Accountsl Other Products
                                                                  Ending balance      Ending balance
Account                                       Account number       last statement      this statement
CLEARCONNECT FOR BUSINESS                     6125037617                  5461.14           (S6B.30)
Total Deposit Accounts                                                   $461 .14           (S68.30)
                 Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 15 of 36



Page 2 of 4
Primary ACCount: 6725031611                                                           nnVA Compass
Beginning June 1.2018· Ending June 30, 2018                       30




CLEARCONNECT FOR BUSINESS
Accounl Number: 6725037611- GARDEN OAKS MAINTENANCE ORGANIZATION INC


Accounl Infonnallon
Dlsconllnuallon of Business Preferred Program and removal of Benefits and Fee
Waivers:
According to our records, you may be enrolled in the Business Preferred Program.
Effective August 1, 2018, this program will be discontinued and the benefits you may be
receiving from this Program will be removed from your accounts. For reference and
information on benefits that you may have been receiving through the Business Preferred
program. please visit bbvacompass.comlbusiness/specialty-programs/preferred.

As of August 1, 2018, your account will be subject to all applicable fees and charges as
disclosed in the account disclosures retating to your accounl. Any waivers of disclosed fees
that you may be receiving at this time, due to the Business Preferred Program benefits or
otherwise, will be removed from your account unless the waiver is specifically detailed in
the account disclosures and qualification requirements are mel. To view the current
version of the account terms and conditions for your account, please visit
bbvacompass.com/disclosure/business.

If you have any questions please call us at 800-852-0803 or visit your nearest banking
center.



Activity Summary
Beginning Balance on 611/18                          $461.14

DspositsfCredits (2)                                +$41.50

WilhdrawalslOebils (6)                              . $570.94

Ending Balance on 6/30118                            (5".30)



Transaction History
              Checkl                                                      DepositsJ    Wilhdrawalsl   End of Day
Date'         Serial #      Descriptlon                                     Credits          Debits     Balance
51.                         ATM WITHDRAWAL       - PROSPERITY BANK VISA                    $200.00
                            TX00179706/04/18 CARD XXXXXX5179 ATM -AT
                            2310 YALE ST     HOUSTON TX
6/.                         SURCHARGE FEE                                                     S3.50
6/4                           REVERSAL SURCHARGE FEE                         $3.50                      5261.14
6/5                           REFUND-NSF CHARGE-PAID ELECT TRANS OR         538.00                      $299.14
                              NO CK#
6115                          DEBIT FOR CHECKCARD XXXXXX5179 06/15118                       $81.62      $217.52
                              COM CAST OF HOUSTON     713·341·1000 TX
6120                          DEBIT FOR CHECKCARD XXXXXX5179 08119/18                      5111.93      $105.59
                              BOX' BOX.NET BUS SRVCS 877-7294269 CA
6/26                          DEBIT FOR CHECKCARD XXXXXX5179 08126118                      $135.69      ($30.30)
                              OOMA.INC         888-711-6662 CA
                 Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 16 of 36



Page30f4
Primary Account 6725037617
                                                                                                                   BBVA Compass
BegiMlng June 1, 2018 - Ending June 3D, 20' 8                                     30




              Check!                                                                                 DepositsJ       WithdrawalsJ      End orOay
Date •        Senal #I      Descriptlon                                                                Credits               Debits      Balance
6127                        NSF CHARGE·PAID ITEM $135.89 DEBIT FOR C                                                        538.00       (S68.30)
                            HECKCARO XXXXXX5179 06126118 DOMA,INC 88
                            8-711';;86
Ending Balance on 6130                                                                                                                   (S68.30)

Totals                                                                                                 $41 .50             S570.94
Please nole, CQrtain lee, and ctlargos posted 10 yout account may relate 10 &aNices andlor activity rrom the prior statoment cyclo .
 • The Dale provided Is the buSfnen day that the transaction Is processed.
              Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 17 of 36



                                               BBVA CompaBs Bank
                                      Interim Statement aD of 07/19/2018

CLEARCONNECT £o'OR BUSINESS           Acc o un t:; : 672 5 03 7 617

GARDEN OAKS r·ll\INTENA                                                       Last Statement Dace:         06/29/2018
4001 N SHEPHERD DR STE 216                                                    Last. Statement. Balance:    $68.30 ·
HOUSTON TEXAS 77018-5507


Poste d Balance as of 07/19/2018 : $0.00
  Date                 Des cription               Checkll             Debit           Credit              Balance

07/06/18       EXTENDED OVERDRAFT CHARGE                                  25.00                               $93.30-
07/09/ 18      BRANCH DEPOSIT                                                            1 , 000 . 00        $906.70
07/10/ 18      DEBIT FOR CHECKCARD                                        50 . 00                            $856.70
               XXXXXX5179
               0'7/09/1BA1·tER ICAS STAR
               COPIER HOUSTON TX
07/16/ 18      DEB I T FOR CHECKCARD                                     170.00                              5686 .7 0
              XXXXXX5179
              07/13/18I\NERICAS STAR
              COPIER HOUSTON TX
07/16/1 8     DEBIT FOR CHECKCARD                                         31 .39                             5655 .31
              XXXXXX5179
              07/13/ 1BAMER ICAS STAR
              COPIER HOUSTON TX
07/ 16 /18    DEBIT FOIl CHECKCARD                                        81. 62                             557 3 .6 9
              XXXXXXS179
              07/15/18COr'IC,'ST OF
              HOUSTON 713-341-1000 TX
07/ 18 / 18   DEBIT FOR CHECKCARD                                        550.00                               $23 . 69
              XXXXXX5179
              07/17/18PREmER H·1 S
              713-222-887 1 TX
07/19/ 18     BRANCH DEPOSIT                                                                 2 5. 00          $48 .69
07/19/18      DEBIT HEMO                                                  48.69                                5C . CO




                                                                                                                1 of      1
                                  Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 18 of 36


                                                                                                                           GOMO
                                                                                                         Compass MM 7245, Period Ending 06/05/2018

                                                                                                                 RECONCILIATION REPORT

                                                                                                                  Reconciled on: 07/10/2018

                                                                                                               Reconciled by: Sarah L Crowder

Any changes made to transactions after this date aren't Included in this                                            report.

Summary                                                                                                                                                                                                                        USD

Statement beginning balance.                                                                                                                                                    ..............................      502,721.15
Interest earned.. ....................................................................................                                                                                                        ·:::::.............64.05
Checks and payments cleared (2) ...........................                                                                                                                       ................................-502,793.46
Deposits and other credits cleared (1).                                                                                                                                           ............................................~
Statement endi ng balance.............                                                                                                                                             ............. _ ............................. 0.00

Register balance as of 0610512018                                                                                                                                                                                ..................0.00


Details

Checks and payments cleared (2)

DATE                                                      TYPE                                                 REF NO.                          PAYEE                                                    AMOUNT (USD)
06/05/2018                                                Check                                                CASHIERSCHECK                    Garden Oaks Maintenance Or ..                                        ·12,344.36
06/05/2018                                                Check                                                CASHIERSCHECK                    Garden Oaks Maintenance Or ..                                      -490 ,449.1 0

Total                                                                                                                                                                                                            -502,793.46


Deposits and other credils cleared (1)

DATE                                                      TYPE                                                  REF NO .                        PAYEE                                                    AMOU NT (USD )
0610512018                                                Joumal                                               MM INTEREST                                                                                                      8.26

Total                                                                                                                                                                                                                         8.26
                           Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 19 of 36
                                                                                                                                                          =
                                                                                                                                                          =
     Page 1 of 4
                                                                                                                l3l3VA Compass
     Pnmary Account: 673535i245
     Beginning June I. 20 18 - Ending June 5. 20 18                          05




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                 GARDEti OAKS riA I tlTEllAtiCE ORGAIII ZAT I Otl I tiC
                 4001 II SHEPHERD OR STE 216
                 HOUSTon TX 77016 -5507




             Bus ;nessCla ss Preferred
                                                                                                                      Contacting Us
                                                                                                                      Available by phone 24n

                                                                                                           Phone      1-800-266·7277

      Please see import ant message regarding your                                                         Online bbvacompas5 com
      PREFERRED MONEY MARKET FOR BUSINESS                                                                   W rite    BBVA Compass
      aCCQunl                                                                                                         Customer Service
                                                                                                                      P.O. Box 10566
                                                                                                                      Birmingham. AL 35296

 r-
      Summary of Accounts
      Deposit Accountsl Other Products
                                                                                                                Ending balance         Ending balance
      Account                                                           Account number                          ..li!?t stateme.0!     J..hjs 5taJ~m~nl
      PREFERRED MONEY MARKET FOR BUSINESS                              6735357245                                    5502,721 15                 50.00

      Total Deposit Accounts                                                                                         $502.721. 15               $0.00




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                                                                     cOAlOOI 198552·001·0!3347980 0001 164 0016921   ' ~ OOOO
                             Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 20 of 36

Page 2 01:\
Primary Account 6735357245
Beginning June 1. 20 1a . Ending June 5. 20 18                                                         05




PREFERRED MONEY MARKET FOR BUSINESS
Account Number: 6735357245 - GARDE N OAKS MA INTENANCE ORGA N IZATION INC


Ac co unt Information
Discontinuation of Business Preferred Program and removal of Benefits and Fee
Waivers:
Accord ing to Ollr records, you may be enrolt ed in Ih e Busin ess Preferred Program.
Effecti ve August 1, 2018 , this program will be di sconl inued and Ihe benefils you may be
receiving from Ihis Program will be removed from your accounl s. For reference and
informat ion on be nefits that you may have been re ceiving through the Business Preferred
program , please visil bbvaco mpass.co m/business/specia lly-prog rams/preferred.

 As of Augus t 1, 2018, your account will be subject to all applicable fees and charges as
discfosed in the accou nt disclosures relating to your accoun!. Any wa ivers of disclosed fees
that you may be receiving at this tim e, due to the Business Preferred Program bene fits or
otherwise. will be removed from your accounl unless the waiver is specifically detailed in
the account disclosures and qual ificati on requi re men ts are mel. To view tile current
version of th e account terms and cond il ions for your accoun !. please visit
bbvacompass.com/disclosure/busin ess.

If you Ilave any quesli ons please ca ll us at 800-852-0803 or visit your nearest banking
cenler.



Activity Summary                                                                                       Interest Summary
€egimung a"I,lIlce         0 11   Gf U16                                      S502.721 15              Inlmesl paid Ihis Sialemeni ~eriod                                          572 .31
                                                                                                       Inlcr('~ 1   f!:uned Ihis sl;),,!ment period                                 ~o1~
                                                                                     . '572 .31
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                                                                            . $502.793 .:6             A~·cra!lc    collcclt:d haklllcc                                       S':02.22816
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Ending OJ lanc," on 6 15118                                                             SO.oo



Transaction History
                     Check/                                                                                                           Deposltsl          Willldrawalsl        End of Day
Dale'                Serial r.             DeSCription                                                                                    Credits                 Debits         Ba lance

61\                                        100 INTEREST PAID                                                                              564.0S                             S502.78S .20
65                                         100 INTEREST PAID                                                                               58.26
61S                                        CHECK CLE ARED                                                                                                 512,344.36
                                           CHECK CLEARED                                                                                                 5490,.14910                SO   Q(l

Ending Balance on 615                                                                                                                                                               SO.O O

Tota ls                                                                                                                                   $i2 .3 1       S502.793.46
P lea~, : nal~. CIl I!oin fc~ .... and ch;]l~c:o posted to i·Olll a ccount          may   rct~lc 10 :.o")rtic~. alld:c r     activlty hom the prior   ~lalcmCnt   cyclE! .
 .   Tll ~   Date pruvlded r ~.    lhc   bu:ornesr. <loV Ih01111m 1r:lIls.1clian   I~ proc'l~ :Icd .




Summary of Chec ks
Cllecks listed are afso displayed in Ill e preceding Transa ction History
Date           Check ::                               Amount        Dale      Check U                                     Amount        Dale        Check ::                  Amount
~~~----------~~                                                                                                     $.190,449. 10
615                                              S12.344.36         6/5
 . Indicates       bleak    In    check sequence
                             Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 21 of 36

Page 3 of 4
                                                                                                                                                             BBVA Compass
Primary Account 67353572·15
Beginning June 1. 20 18 · Ending June 5. 20 13                                                                      05




Images of Checks
                              6/5                   S12,34436                                                  6/5               $49044910
                                                                            : 1Ji l W1   ....... "' ."" ...   0-,,"11 ..... "1 . .. _ _ ..          I .. ~
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Statement Period Rates
Effe ctive June 1. 2018
Ba rance                                                                                                          Rate
zero                                               10           59,999.99                                         0.050%
510,000.00                                         10           519 ,999.99                                       0 ,050%
520,000.00                                         10           $49.999.99                                        0.050%
550,000,00                                         10           599,999.99                                        0.050%
5100,000,00                                        10           5249,999,99                                       0. 150%
5250,000.00                                        10           5999,999.99                                       0 .150%
S1,000,000.00                                      10           52,499,999,99                                     0.200%
52,500 ,000.00                                     10           54,999,999 ,99                                    0.200%
55,000,000,00                                      10           Over                                              0 _200%




                                                                                                   COAlOO I 1'lS5S2 ·Q01·0fUH910 000116 .1 001691 8 1"0 000
                       Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 22 of 36

Page 4 or 4
Primary Account 6735357245
Begrnnrng J une t . 20t8 " Ending June 5. 2018                                     05




How to Ba lance Your Ac c ount                                                          Ch ang e 01 Add ress
                                                                                        Ple:l5C COlli u:, :II thu telephone numher ir..:;l ed on tho:> fl olil of Ihis
Step 1    Enter all checks, deposits, and other automated teller                        statemont to tl:1I us 1100\11 :1 c h~lIl ge of :lddros5.
          card (A TM) transactrons in your register.
          Record all automated deductions. debit card                                   Electronic Tr.llls (ers      (rarCOtl SunKl f .lCCOUnlS Ollly)

          transactrons and electronic bill payments.                                    In case of .:mor ... CI qucslions "boul YOIll Eleclr onic Tran ~.I ors, Wllti! to
                                                                                        BBVA C OIl1P il :;~ Bank, Opcwl ion:; COlllplin ncc Support. P.O . Bo)(
          Record and deduct service charges, c!leck printmg
                                                                                         10566, Birlllin\Jh arn , AL 35296. Or !limply C;1U your locnl r. u s l on l\~ 1
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          If you have an interest bear ing account . add any                            :,00/\ as you can. if you think Yllur 5lal£Om(.'1I1 or receipt i:.; Vlrong or if
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Ste p 2 - If apphcable. sort checks in numerrcal order ilnd mark                        /ccetpl INc IIIU!.t hcrn fr om you no 1i1101 Ihan 60 da'(S aitc i we senl
          In your register each check or other transaction tha t 15                     I h e fi l sl stalcrlU!IIl on 'lJhich Ihe: c rr ol Of problcm appe:u cd

          listed on thiS statement.
Step 3    List any deposits or credits yow h.l'Ie made thai do not                      • Tell us YOU! n,HIlC alld aC(;ounl numbel (II ::my).
           appear on thiS statement (see space provided belm'.') .                      • Doscliue Ihe O!lfor or Ihe tr~ n!', fer y011 me ImSllfe i1COtlt. :lnd e.opl:l111 <IS cJcil rl '( l]!', yOll can
                                                                                          I'/hy you beilo'fo II is an C!lor 01 why yotl need mOle information.
Step 4     U st any checks you hLive written . debit card
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  m.1ich VOUI fcgislcr elllril:s.
· If you t"wc questions or need ar;sir.t,lI1ce. please Idc/ 10 Ihe phalli:              BBVA Comp,,:;:; is a !l ade n:ullc of Compa:>s Bank. a mem ber 01 the BBVA GlOup
  numbo:1 on thl! fr on l olrhis SI<ltem.:nr                                            Compass Bilnk . Member FDIC.
                                    Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 23 of 36


                                                                                                                                                    GOMO
                                                                                                       Compass Bank Checking, Period Ending 06/05/2018

                                                                                                                                RECONCILIATION REPORT

                                                                                                                                  Reconciled on: 07/10/2018

                                                                                                                             Reconciled by: Sarah L Crowder

Any changes made to transactions after this dale aren't included in this report.

Summary                                                                                                                                                                                                                                                                                                        USD

Statement beginning balance•. ...................................................................... ...................................................................................................................................................................................................76 ,671 .03
Checks and payments cleared (1L........                                       ...................... ............................................. .............................              ...................................................           ...........................................~76,671.03
Deposits and other credits cleared (0). ........................... ....................... ..............................                     ...........................                     ............................................                 .......................................... .......... ...QJIQ
Statement ending balance..........                                                                   ....................................................................................................................................................................................................... 0.00

Register balance as of 06/05/2018..... _... _........                                                                                                                                                                                               .. __......................................................... _0.00


Details

Checks and payments cleared (1)

DATE                                                          TYPE                                                           REF NO.                                                        PAY EE                                                                                      AMOUNT (US D)
06/05/20 18                                                   Check                                                          CASHIERSCHECK                                                 Garden Oaks Maintenance Or ..                                                                            -76,671.03

Tolal                                                                                                                                                                                                                                                                                           -7 6,671.03
                         Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 24 of 36


     Page 1 of 3
                                                                                                                          BBVA Compass
     Primary Accoun t: 0005 150596
     Beginning June 1. 2018· Ending June 5. 2018                                        05




21              ff      000007159                                     1=0000
                I, I", 1,111111111" 111'1 1,11111 III 01 ,11 11' II oJo" I, 11'11 11111 1,II
                7159 1 AB DADS
                GARDEU OAKS MAIUTEUAlICE ORGAlIIZATlOII IU C
                4001 U SHEPHERD DR STE 216
                HOUSTO U TX 770 18-55 07




            BusinessCIass Prefe rred
                                                                                                                             Contacting Us
                                                                                                                             Available by phone 2'ln
     Your BBVA Compass Acco!,l nt(s)                                                                               Phone     1-800-266-7277

     Please see important message regarding your                                                                   Online bbvacompass com
     ClEARCHOICE FOR BUSINESS account                                                                               Write    BBVA Compass
                                                                                                                             Customer Ser'Jice
                                                                                                                             P.O . Box 10566
                                                                                                                             Birmingham. AL 35296


 !""" Summary of Accounts
     Deposit Accounts! Other Products
                                                                                                                        Ending balance        Ending balance
     Account                                                                      Account number                    __ ...J.9?t~L'H.~ m en~    tllis statement
     CLEARCHOICE FOR BUSINESS                                                     0085150596                                 576.671.03                 5000
     Total Oeposit Accounts                                                                                                  S76 .671.03               SO.OO




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                                                                              OONOOl 198552 ·001·013347980000715900 16017 1- 0000
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Page 2 of 3
PrImary Account 0085 150596
Beginning June I , 201 a - Ending June: 5, 20 18                                                os




CLEARCHOICE FOR BUSINESS
Account Number , 0085150596 - GARDEN OAKS MAINTENANCE ORGANIZATION INC


Acc ount Inform ati on
 Di sco ntinuation of Bu siness Preferred Pro gram and rem oval of Benefits and Fee
 Waivers:
According 10 our records, you may be enrolled in Ihe Business Preferred Program .
Effeclive Augusl 1. 2018. Ihis program will be disconlinued and Ihe bene fils you may be
receivi ng from Ihis Program will be removed from your accounls . For reference and
informal ion on benefils Ihal you may ha ve been receiving Ihrough Ihe Business Preferred
program, please visil bbvacompass.com/business/specially-programs/preferred .

 As of August 1. 20 18. your accou nl will be subject 10 all applicable fees and charges as
disclosed in Ihe accounl disclosures relaling 10 your account. Any waivers of disclosed fees
Ihal you may be receiving allhis lime . due 10 Ihe Business Preferred Program ben efils or
olherwise . will be removed from your accounlunless the waive r is specifically delailed in
Ille accounl disclosures and qualifica lion requi remenls are met. To view Ihe currenl
version of Ihe account lerms and condilions for your account. please visil
bbvacompass.comldisclosure/business.

If you have any queslio ns please ca llu s al 800-852-0803 or visil your nearesl ba nki ng
center.



Act iv ity Summary
                                                                          $76,67103

                                                                               .. SO 00

                                                                        . $76.67103

End Ing BalancE' on 6/5118                                                       50.00



Transaction History
                 Check!                                                                                                        DepOSits!            Withdrawals!          End of Day
Dale '           Serial t;         DeSCriptIon                                                                                     Credits                    Debits        Balance
6i5                262 1           CHECK CLEA RED                                                                                                      $76.67 1.03            50.00
EndIng Balance on G/5                                                                                                                                                         SO.OO
Tota ls                                                                                                                              SO.OO             S76.671 .03
Plc:lse nole. certain fccs. and c har!)c~. pO:;l eU 10 your accoun t lIKI '( rl'!lale to        SCI'/iccs   :\I1d/ol ;lclhnly lIomlilfl PI lor ~:l:lIL'l11l1n l cycle .
. Tho:! Dale pro'/ided IS lhe u\lsin~s:; day 'hat 'h ~ 1/a1l ~."H: t i() 11 I:. Ilfoces:.cd ,




Summary of Checks
Chec/(s listed are also displayecl in the preceding Transaction History
Date      Check::'                             Amount         Dale       Check ::                                Amount          Date        Check :;                     Amount
6~5~~2~6~2~1~--------~S~;~6~.6~;~'~03
. Indicates break       In   check sequence
                            Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 26 of 36

Page 3 of 3
                                                                                                                                       BBVA Compass
Primary Account : 0085150596
Beginning June 1. 20 18 - Ending June 5,2018                                           05




How to Balance Your Account                                                                 Change of Address
                                                                                            PIC3f-t! can us nl Uw lelcphoflo number lisled on th.., frolll of this
Step 1          Enter all checks, deposits, and other automated teUer                       statell1ent 10 lell us about a ch;ln~lc of "ddress
                card (ATM) transachons in your regIster
                Record all automated deductions, debit card                                 Electronic Transfers (for consumer accounts only)
                transactions and electronic bill payments.                                  In CilS(: 01 crrors or quc ~.lion!> aboul yOU! Elcclloni{; T ran5fc r ~. vlfil0 10
                Record and deduct service charges, check printing                           BBVA Campa:'.5 allnk. Oper<1lions Compli:lIlcn Support P.O . Bo,l(
                                                                                            10566. Billllin[J"""" Al 35296. 0 , simply call your locnl customer
                charges. or olher bank fees                                                 servico num ber primed on the frollt of this !>Inlcmenl. Cnll 01 vJrilo:'ls
                If you have an interest bearing accolJnI , add any                          soon r,s. .,.OU can . if vo u think YOUl ::;Iall!ment Of leccipl i!. wrong o. if
                interest earned shown on this statement.                                    you Ilued mOlc inlOlmalion nboul ;'Itmnsfef olllhe sla/ement or
Step 2          If applicable. sort checks in numerical order and mark                      receipt. Wc mllsl he,ll hom you no kIter than 60 da',..,. after VIC senl
                in your register each check or other transaction that is                    Ihe liltot slalcllu:n1 on Vlluch Ihe CHor Of pTOblem appealed.
                lisled on this statement.
Step 3           list any deposits or credits your have made that do not                    • Tell us your !lamc and account numbel (il any).
                                                                                            • Dcs{;rilJC 1I ll) fHlor Of Ihe Ilan~ ' eryuu OlIO unsure about, amJ e~plain as de:uly <l~'i YOu can
                 appea r on this statement (see space provided below) .
                                                                                              vlhy you belic'Jc il is an euor 01 \'Ihy you need mOlc in'ollnal ion .
Step 4           list any checks you have written, debit card                               • Tell liS the dottal ;1mollnl of tht! suspeclnd ClfOI .
                 transactions. electronic payments and other
                deductions Ihal do nol appear on this statement (see                        We) vlill ilwcstiy<lto )'OUI complaint and VliII COHCC.t an,; Qllor plOmpl1y \{·,'IO la'r.o mOlo.lh;m '0
                space provided below).                                                      business days (20 on claims on accounts opened Ie:>::; Ih,HI 30 calendill day!'.) 10 do tht s. 't iC will
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    D:llelDescllplion                                       Amounl                          ' For Non-Consum er Accounl cuslomels. please refer 10 'fOUl CutrCnl /'Ion-Consumcr Accounl
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                                                                           I                Over dr.1ft Prot ection
                                                                           I                C:'Itculation of Inl!!rest Charge ;,nd Sollance Subject t o Inlerest R;)le . Thi1 inlerasl ch'Hge 15
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                                                                           I                which gives you the ~Applica!Jte Rate. " AllhOu(lh 'lie c: alct/late Ihe interc~1 ch:lrgu bV npplying Ihe
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                                                                                            Ihi~ st<ltemcnt. then mUltiplying Ih;'lt sum by th e number 01 d;'ly<; in the billing cycle. To gel the
I                                                                          I                                                      M
                                                                                            "B:llanco Subjecllo Interes t Rnlc shown on thi s s\alomcnt VtC lilkc the bCiJinnill9 b~lanc\! of
I                                         Slop 3 Tolal
                                                            S              I                your accounl less any unpaid finance chargcs each day. add lInV new ad'.'ances or deliils, ;'Ind
                                                                                            :;u\)lracl any payments at credils . This 9iv~~ us the daily balance . Then '1/0 add all the d;1ily
                                                                                            batlnees for the billing cycle i\nd divi do by the num!Jer 01rt"vs in tim billing cyclo . Thi:; give u:;
                                                                                            the "a'mra gc d"ily b,.lilOCf!" shown on th o s!;)lemenl 015 "Balonce Subiectlo Interest Rate".
    Dnlel Oescriplion                     Check ~           Amounl                          P;'\ymcn ts . Payment!; to VOU! ovordr.'" prolcclion loom accountmado 111Iougl1 OUI tcllel3 01
                                                                                            dcposihld al ou! uulomated telle, machines (ATM's) Monday Ifuough Fliday oolOlc lhe posted
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                                                                                            po!.led 00 Ihe nctillusiness d;'ly. Payrnenlsl1lado Ihrough OUt ATM's via a fllndslr:mo;/er will bo
                                                                           I                posted on the date Ihey are recci'/CiJ or on the next business day;f made after 6pm CT (6plll MT
                                                                                            '01 A rizona accounts and 6pm PT fOI CalifOlnia ;lccounls) Monday l hrough Fl iday 0 1 anytime
                                                                           I                Sililuday. Sllnd~y or ililllk holidays. BBVA Comllass Bank bus.iness days aH~ rAond:lY lhrough
                                                                           I                 Frirlny, \!xcludinu holid;'ly~ .

                                                                           I                 In Case of Error o; or Questions About Your Statement (Ovcl drall Protection Only)
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                 bal;:lnce                                             I                     you think yoU! sllltcmcn t is wrong . T o slop 1110 paymon!. yt)ut Inlle! Inu:>1roach us Ihl<!Q (J)
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    • Amoun t!> of depor.ils find wilhdr;)'Ir.lls on rhis slalllm(!nt should                 plohlem. eHor or unauthotized Iransaction .
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    · If you have questions or nCI!d a55isl;mcc , please refer 10 tho phone                  BBVA Compass ir. a "!'lUi:! n;:imc or Compass Bank. a melll~r ol lhe BBVA GlOlIfl .
      number on the honl ollhis statement.                                                   COO1pas~; S;mk. Memher FDIC




                                                                               DOA/DOI I!l8552·Q01·011147980 0007 159 00lG9 18 t- OOOO
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                                                                                                                                GOMO
                                                                                Prosperity Holding 6864, Period End ing 06/3012018

                                                                                                          RECONCILIATION REPORT

                                                                                                             Reconciled on: 07/1012018

                                                                                                       Reconciled by: Sarah L Crowder

Any changes made to transactions after this date aren't included in this report.

Summary                                                                                                                                                                                                                                                                            USD

Statement beginning balance......... .                                                                                                                                       ........................            ...................................................................... .0.00
Checks and payments cleared (0)                                                                                                                                             ...................................... ............................................         ................ .0.00
Deposits and other credits cleared (5) ............................                   ............................ .......................................... .                                                   ................................................... 560,872.52
Statement ending balance...........                                                                                                                                                                                                            .................... 560,872.52

Register balance as of 06130/20 18.............. .................  H   ........._.                                                                                                                                                                             ........560,872.52
Cleared transactions after 06/3012018... .........................................                                                                                                                                                               .......................................0.00
Uncleared transactions after 06130/2018 .. ...........................                                                                                                                                                         ............................................29,371.36
Register balance as of 07/10/2018. .........................................                                                                                                                                                      ......................................590,243.88


Details

Deposits and other credits cleared (5)

DATE                                         TYPE                                                      REF NO.                                                    PAYEE                                                                                   AMOUNT (USD)

06/04/20 18                                  Deposit                                                                                                                                                                                                                     18,920.42
0610512018                                   Deposit                                                                                                                                                                                                                     21.431.25
06/05/20 18                                  Check                                                     CASHIER$CHECK                                              Garden Oaks Maintenance Or ...                                                                      490,449.10
06/20/20 18                                  Deposit                                                                                                                                                                                                                     25,759.25
06/27/2018                                   Deposit                                                                                                              871 w41stst                                                                                               4,312.50


Tota)                                                                                                                                                                                                                                                             560,872.52


Additionallnfonnation

Uncleared deposits and other credits after 06/30/2018

DATE                                          TYPE                                                      REF NO.                                                   PAYEE                                                                                    AMOUNT (USD)

0710612018                                   Deposit                                                                                                                                                                                                                     29,371.36


Tota)                                                                                                                                                                                                                                                                29,371.36
                     Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 28 of 36

                                  - _ /
                                                        PROSPERITY BANK®
                                                                                                                             Statement Date            6/3012018
                                                                      Visit us onlin e at ProsperityBankUSA.com
                              166791 AS 0..106                                                                                  Account No             217186864
                              GARDEN OAKS MAINTENANCE ORG, INC.                                                                                        Page l of4
                              DEBTOR in POSSESSION CASE # 18?60018
                              4001 N SHEPHERD DR STE Z16
                              HOUSTON TX 77018 · 5507


                             1111'111,11111111'11",111"'11111111'1111111"111'11'1 11' 11,11'1




                  STATEIoIENT SUMMARY                                                                           TX Small Bu,lnes, Check Account N. 217186864
                  06/04/2018        Beginning Balance                                                                                          ,0.00
                                       S Deposits/Other Credits                                                                         ,560,872. 52
                                       o Checks/Other Debits                                                                                   $0.00
                  0613012018        Ending Balance                                     27   Days in Statement Period                    ,560,872.52
                                    Total Enclosures                                                                                                 5


                   DEPOSITS/ClTtIER CREDrrs
                  Da t e            Oescrig:tion                                                                                                         Amount
                  06/04/2018        Opening Deposit                                                                                                   $18,920.42
                  06 / 05/2018      Deposit                                                                                                          $490 ,449 .10
                  06/05/20 18       Deposit                                                                                                           $21,431.25
                  06120/20 18       Deposit                                                                                                           525,759.25
                  06/27/20 18       Deposit                                                                                                            $4,312.50


                  TOTAL OVERDRAfT FEES
                                                                        Total Fo r This Period         Tota l Year-ta-Date
                           Total Overdraft Fees                                    $0.00                        $0.00
                           Total Return Item Fees                                  $0.00                        ,0.00


                   DAILY ENDING BALANCE
5_
N _               Date                   Balance                                Date                 Balance
"'=
"-
'0-                                  $18,920.42                                                  5556,560.02
0=                                  $530,800.77                                                  $560,872.52
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           Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 29 of 36
GARDEN OAKS MAINTENANCE ORG, INC.                                                                                               Account No                  217186864
                                                                                                                                                           Page 2 of 4

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6/ 4 / 2018                                                  $18 , 920.42       6/5/2018                                                                  $4.90,449, 1 0
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                                                             .l.lli.3! ..25"                                 ·:IUU!I r.U' :       unIH,a"....       1S1
                     ':' U~iir.s51!   lHI8Ur.V       1 51




6 / 5 / 2018                                                 $21, 431 ,25       6 / 20 / 2018                                                              $25,759 .2 5




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                                                   -_.        ~/J   0 ..   '0
                                         ~         .......          J....'
                                                             " J I'),
                                                     '"

6 / 21 /20 18                                                 $4,312.50
      Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 30 of 36

                                                                                                             Page 3 of 4




                    IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR STATEMENT

If you believe there is an efror on your statement, or if you need additional information about a transaction listed on
your statement, or if you believe a substitute check does not accurately reflect a transaction, send a written letter on
a separate sheet to P.O. Drawer G, EI Campo, Texas 77437 as soon as possible. We must hear from you no later than
60 days (40 days for Check 21 expedited recrediting rights) after we sent you the first statement on which the error
or problem appeared. Otherwise, the account will be considered correct. You can telephone us with inquires at your
local banking center or at 800-531-1401, but doing so will not preserve your rights.

    In your letter, give us the following information:
    1) Your name and account number.
    2) The dollar amount of the suspected error.
    3) Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe it
         is an error or why you need more information.
    4) For a substitute check explain why an original or better copy is necessary and provide sufficient information
         to identify the substitute check.

The Check 21 Act procedures and expedited recrediting rights are only available to consumer customers. Check 21 will
result in a reduction in the time between the cashing and clearing of a check. Please ensure that you have Dvailable
funds on deposit before writing checks ta avoid the risk of being overdrawn.

In case of errors or questions about your electronic transfers, we will investigate your complaint and will correct
any error promptly. If we take more than 10 business days to do this, we will credit your account for the amount you
think is in error so that you have use of the money during the time it takes us to complete the investigation.

TO REPORT LOST OR STOLEN PROSPERITY BANK DEBIT CARD, CALL YOUR LOCAL BANKING CENTER. AFTER HOURS, CALL 800·684-2132.



                     THIS IS PROVIDED TO HELP YOU BALANCE YOUR STATEMENT



      YOUR BALANCE
                                                                                    CHECKS OUTSTANDING
  SHOWN ON THIS STATEMENT           $------
                                                                                  NO.                AMOUNT
        ADD + (IF ANY)
     DEPOSITS NOT SHOWN
      ON TH IS STATEMENT            $------

             TOTAL                  $------


      SUBTRACT - (IF ANY)
     CHECKS OUTSTANDING             $------

            BALANCE
                                    $=====                                  MISC. CHARGES

                   SHOULD AGREE WITH YOUR CHECK BOOK BALANCE                     TOTAL




          PLEASE EXAMINE THIS STATEMENT AT ONCE. NOTIFY US IN WRITING OF ANY CHANGE OF ADDRESS
             Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 31 of 36
                                                                                                                                                               Page 4 of 4



Oklahoma                                           Schulenburg                  979·743·2500     HouUooArea                               Wharton                979 -282-2000
Central Oklab!l:rm! Area                           Seguin                       830-379-2222     Angleton                979·849--6404    WinnIe                 409-29&-3000
Edmond                   4O~359·9199
                                                   Smithville                   512-237-9649     Bay City                979·245-4200     South T1!lI3! Area
Norman                   405·307·9066              Thorndale                    512-S!UI·2SOl    Beaumont                409·898-2128     A1i~                   361-664·5446
Oklahoma City                                      Weimar                       979·725·9401     Bellaire                713-666-2511     Aransas Pass           361·758·5624
  23rdSt                         40>-943·8411      DaHa!lEI, ~ollb A[g3                          Clcycland               281·592·2661     BeeviUc                36]-]58·3612
  Downtown                       405-228-002 1    Arlington                     817·6]$·2900     Cypress                                  Corpus Christl
  Expres.sway                    4OS·81().4920    .",                           817·378-2240       Fairfield             281·]73·0080       calallen             361·387·5235
   1-240                         405-61&-2071     Balch SprIngs                 972-286-5452       U.S. 1.90             2810373-(1062      Clrmel               36 1·814·29]5
   Memorial                      405-748·3489     Cedar Hill                    972-291·6246     D~yton                  93&-25&.7681       Northwest            361-241-6817
   Northwest                     405-72Z·n75       Dallas                                        En! Bl!mard             97~335-7513         Padre Island        361·949-]846
l ulu Area                                            Abrams Centre             972·238·9292     Elcampo                 97~S43-2200        Saratoga             36 1-854-0728
Ow.""                            9 18·748-7140       Camp Wisdom
                                                      Kiest
                                                                                214·461·6996
                                                                                214·371 ·6000
                                                                                                 Galveston
                                                                                                 Groves
                                                                                                                         409-762-2103
                                                                                                                         409-962-8458
                                                                                                                                            iimbe rgatc
                                                                                                                                             Water 51
                                                                                                                                                                 361·98&-7800
                                                                                                                                                                 361-887-8771
Tulsa
  Garnett                       9113--148-7110        PreSion Forest            97Z·661..()399   Hempstead               97~82&-2431      Cuero                  36 1·275-2374
  HarYilrd                      9 18-148-400:)        Preston Rd                9 72-447-4580    Hitchcock               409-986-5541     Edna                   361-182-3533
  Memorial                      918-748-4001         Tunic Creek                214·521-4800     Houston                                  Go liad                361-645-3246
  Sheridan                      918-748-4002         Tunic Creek · LPO~         214·180-2000       Aldine                281-981-1600     Gonza les              Bl0-672-7551
  5 Hal"lard                    918-748-4770          Westmoreland              2 14·330-3800      Alief                 713-66&-2511     Hallettsville          361-798-4357
  Utlc.a Square                 918-748-4299      Ennis                         972·875-8461       Beltway West          281·970-9636     Kingsville             361-592· 2636
  Utica Tower                   918-748-4110      Fon Worth                                        Copperfield           281-345-9555     Mathis                 361-547·3336
  Ya le                                              Stockyards                 8 17·378-2200      Downtown              713-ii93-925O    Palac.los              361-972·5481
                                918-748·7100
                                                  Frbco                                            hstex Freeway         281.-449·8282    Port lavaca            361-552-7411
Texas                                                Gaylo rd Parkway           214·619·2265       Genner                113-242-1030     Portland               361-643-2565
l!D:illll~l ltBl: ~In ll!i!!l /![!l;i1               Maln5t                     972·712-4499       Gladebroo.            832-249-7600     Rockpon                361-729-7411
Bryan                                             Gainewille                    940-668·8531       Heights               713-861·1125     Sinton                 361·364-1261
  29th Sc                      979-260-3252       Gren Rose                     254-898..()5S1     Hi8hway 6 West        28 1-496-9103    Ta'                    361·52&-2566
  E University Dr              979·131·1750       Granbury                      817-573'())OO      little Yon.           713-242·1010     Victoria
  N Texas Ave                  979·778-2900       Haltom City                   817·378-2230       Medical Center        713-693-9275       Colony Creek         361·573-1088
  5 Texas Ave                  979-779-1111       lC:eller                      817-378-2210       MemorfalOr            713-465-0300       MainS!               361-573·6321
Cardwell                       979-567-4665       McKinney                                         Northside             713-226-5300       Navarro              361-788· 2700
College Station                                      Centralhpy                 972·548·4000       Rivet Oaks            713·693-9400       North                361 · 573-1993
  Cresc.ent Pointe             979-774-1700          Stonebridge                972-S48-1l67       SW Medical     ell    7l3-m-()760      Yoakum                 361·293-5221
  Longmire Dr                  979·694·2222       Mlnquite                      972-913-3147       Tanglewood            713-693-9225     Yorktown               361-564-2291
  Rod Prairie Rd               979-764·9443       Muenster                      940-759-5000       The Plaza             713-666-2511     W~J T!l:!I!ISit!l"
  Southwest Pkwy               979-ii93·1063      Plano                                            Uptown                713-892-4700     Abilene
  iower Point                  979-690·4780          Midway                     972--173-9000      Waugh Or              713-693-9100        Antilley Rd         325-794-3300
  Wellborn Ad                  979-68O..()357        Preston Rd                 469·229-9334       WesT. Universlt)o     28 1·902·1650       Barrow St           325-794-2000
Hearne                         979-279-3438       Red Oak                       972-617-73n        Westtll~imer          713·781·7171        Cypress 51          32S-794-1000
Huntsville                     936-291-3232       Roanoke                       8 17- 378-2250     Wirt                  713·242·1060        Judge Ely           325-794-3100
Madisonville                   93&-348-2711       Sachse                        912·530·7999       Woodereek             281-443-7600        Mockingbird         325-794-3200
Navasota
NewWavetly
                               936-825-2274
                               93&-344-6691
                                                  Sanger
                                                  The Colonv
                                                                                940-458-7404
                                                                                972·625-2002
                                                                                                 ''''ICinco Ranch 81vd   281-693-6800
                                                                                                                                          Big Spring
                                                                                                                                          Brownfield
                                                                                                                                                                 432- 267·5555
                                                                                                                                                                 806-637·7626
~nt ra '   Tf!lIa! aa:a                           Waxahachie                    972·935·9023       Fry Road              713-666-2511     Brownwtlod             325-646-6500
A',I.stin                                         We3therford                   817 -594-0533      Grand Parkway         713-666-2511     Cisco                  Z54-442 · 2211
                                                  Ea.$1 Tell,u Are;!                               Pin Oak               713·666-2511     Comanche               325-356-7517
   Allandale                  512-407-6070
                                                                                                   Spring Green          281-574-8680     Early                  325-643-2748
   Congre»                    512-472-5433        At hens                       903.{i75-8511
                                                                                                 Liberty                 936-336-5731     Floydada               80&-983·3725
    Northland                 512-458-1384        BloominG Grove                903-695·2311
                                                                                                 Magnolia                                 Gorman                 254-734-2254
   Oak Hill                   512-891-1800        Canton                        903·567-4181
                                                                                                   Goodson Rd            281-356-8211     l evelland
   Researcn Blvd              512-331-5402        carthage                      903-693·7161                                                                     806-894·5296
                                                                                                   Parkway               936-442-5915     Linlefield
   Westlake                   512-485-1600        Corsican;!                    903-872-0077                                                                     806-385-5149
                                                                                                 Mont Belvieu            281-516-5444     lubbock
Bamop                         512-308-9957        Crocken                       936-546-2265
                                                                                                 Nederland               409·727·2153        4thSt
Canyon lake                   830-964-6600        Eustace                       903·425-7031                                                                     8OG-784-4OCO
                                                                                                 NeedvlUe                979-793-421 1       66th St
Cedar Park                    5 12· 260-9199      Gilmer                        903-843·5525                                                                     806-767·6600
                                                                                                 Pearland                                    82nd 5t             806-767-8200
Dime Box                      979-884-2354        Grape land                    936-687-4814
                                                                                                   Shadow Creek          113-340-0652        86thSt              806-474-3000
Dripping Spring!              512-858-1256        Gun Barrel City               903-887-3333
                                                                                                 Richmond                                    98th S.             806-798-9810
[lgin                         512-285-3311        Ja,k!.olwille                 903·586-9861
                                                                                                    Pecan Grove          281-762-6700        Avenue  a           806-767-7000
FJa!onia                       36 1·865-2953      Kerens                        903·39&-2222
                                                                                                 Ro senberg              832·595·7980        N University        806-767-7240
Georgetown                     512-869-4160       l ongview                     903·29 1-5500
                                                                                                 South Houston                               Texas Te!ch         806-740-3400
Kings land                     325,388-4551       Mt Vernon                     903·588-2243
                                                                                                    Pasade!na            713-943-8833     Me rke l               325-9 28-4728
\..l Grange                    979-968-8451       Palestine!                    903· 729·3228
                                                                                                 5prln8                  832-717-3260     Mid land
lak~ay                         512-261-1122       Rusk                          903-&83-2286
                                                                                                 Sugar land                                  Wadley              432 - 6~-6100
Lexington                      979-773-4417       Seven Points                  903-432-3611
                                                                                                    Fint Colony          281-902·1750        Wall5t              432-S71-4960
Liberty Hill                   S12-n8-S355        Teague                        2S4-739-2S58
                                                                                                   Southwest Fwr         28 1· 269·7200   Odessa
New Sraunfels                                     Tyler
                                                                                                 The Woodlands                               Grandview           432-550-3334
   Downtown                    830-608-5501           Beckham                   903-593·1767
                                                                                                   1·45                  281-292-6691        Grant               432-580-2300
   Gruene                      830-629·8970          S Broadway                 903-939·2265
                                                                                                   College Park          713-666-251 1       Kermi t Highway     432-333·3400
Pleasanton                     830-569-5561           University Blvd           903-566-5575
                                                                                                    Research Forest      832-663-4$00        Parkway             432·580-2380
Round Rock                     512·248-0101       Winnsboro                     903-Yl2·52OS
                                                                                                 Tomball                 281-290-0404     Plainview
San A."tonio                                                                                                                                                     80&-293-3888
                                                                                                 W311e r                 936-372-9404
  5an Ped ro N                 210-826-2161                                                                                               San Angelo             3lS·g49-0222
                                                                                                 Webster
                                                                                                                                          Slaton                 806·828-4282
                                                                                                    Clear Lake           281-332-3S95
                                                                                                                                          Snyder                 325-573-4041
                                                                                                 West Columbia           979·345-3141
                                                 "l.GIn Productton Olfoee. lnclud<", corporare
                                                 and   IlriY~tr   tI.lnl<nJ!
                                   Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 32 of 36


                                                                                                                                                GOMO
                                                                                                   Prosperity Operating 6856. Period End ing 06130/2018

                                                                                                                            RECONCILIATION REPORT

                                                                                                                              Reconciled on: 07/10/2018

                                                                                                                         Reconciled by: Sarah l Crowder

Any changes made to transactions after this date aren't Included in                                                         this report.

Summary                                                                                                                                                                                                                                                                                                        USO

Statement beginning balance ............................            .......................... ......................                                                 .................................               .............................................................           . .....................0.00
Checks and payments cleared (5t................                                                               . ...................................................... ..............................               ......................................................................................-4,268.04
Deposits and other credits cleared (5).....                                                                                                                                                                                                                                                     ...... 89,215.39
Statement ending balance......................................... .                                                                                                                                                                                                                            . ...... 84,947.35

Uncleared transactions as of 06130/2018.                                                                                       ......................_            .................._                           ........................_ .. ~ ..            ................•.............................-950.00
Register balance as of 06/30/2018.           ..................................................................................................... ~ ........................_ ..............................................                                                   ......................83,997.35
Clea red transactions after 06/30/2018 . ...............................................................................................................................................................................................                                                       ...................0.00
Uncleared transactions after 06/30/2018.             ...................................................................................................................................................................................                             .. .................................-1 ,000.00
Register balance as of 07/10/2018...                                                                                                                                                                  ................................                                .................................82,997.35



Details

Checks and payments cleared (5)

DATE                                                        TYPE                                                         REF NO.                                                      PAYEE                                                                                           AMOUNT (USO )
0611412018                                                  Check                                                        Auto                                                         Intuit                                                                                                             -1 13.64
0611912018                                                  Check                                                        2703                                                         Sarah L. Crowder                                                                                                      -60.00
0611912018                                                  Check                                                        2702                                                         Pamela Parks                                                                                                       -896.75
0612612018                                                  Check                                                        2704                                                         Barsalou & Associates, PLLC                                                                                    -2,042.65
0612612018                                                  Check                                                        2705                                                         C.J. Brock Insurance Agency                                                                                    -1,155.00

Total                                                                                                                                                                                                                                                                                            -4,268.04

Deposits and other credits cleared (5)

DATE                                                         TYPE                                                         REF NO.                                                      PAYEE                                                                                          AMOUNT (USO)
06/04/2018                                                  Check                                                        ATM                                                          Garden Oaks Maintenance Or ..                                                                                        200.00
0610512018                                                  Check                                                        CASHIERSCHECK                                                Garden Oaks Maintenance Or                                                                                     76,67 1.03
06/0 5/2018                                                 Check                                                        CASHIERSCHECK                                                Garden Oaks Maintenance Or ...                                                                                       865.15
0610512018                                                  Check                                                        CASHIERSCHECK                                                Garden Oaks Maintenance Or. ..                                                                                 10,654 .21
06105120 18                                                 Check                                                        CASHIERSCHECK                                                Garden Oaks Maintenance Dr. ..                                                                                       825.00

Total                                                                                                                                                                                                                                                                                            89,215.39


Add itional Information

Uncleared checks and payments as of 06/30/201 8

 DATE                                                        TYPE                                                         REF NO.                                                      PAYEE                                                                                           AMOUNT (USO)
0611912018                                                  Check                                                        2701                                                         Progress Investment Properties                                                                                      -950.00

Total                                                                                                                                                                                                                                                                                                  -950.00

Uncleared checks and payments after 06/3012018

 DATE                                                        TYPE                                                         REF NO.                                                      PAYEE                                                                                           AMOUNT (USO)
0710612018                                                   Check                                                        2706                                                         Garden Oaks Maintenance Or..                                                                                   -1,000.00

Total                                                                                                                                                                                                                                                                                             -1,000.00
         Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 33 of 36



                      (!f.~
                      ........, PROSPERITY BANK®                                                           Statement Date               6/30/2018
                                                     Visit us on line at ProsperityBankUSA.com
           16678 I AS 0.408                                                                                      Account No             217186856
           GARDEN OAKS MAINTENANCE ORG, INC.                                                                                            Page 1 of 4
           DEBTOR i n POSSESSION CASE 1118-60018
           4001 N SHEPHERD DR STE 216
           HOUSTON 1)( 77018-5507

          11111'11111"11'1111 '111,111111111'1'1111111'11'11111,111 11111,11




 STAIEMENT SUMMARY                                                                             TX Small BUSiness Check Account No 217186856
06/04/2018       Beginning Balance                                                                                              $0.00
                     3 DepositslOther Credits                                                                •           589,215.39
                     5 Checks/Other Debits                                                                                 54,268.04
06 /30/2018      Ending Balance                                       27   Days in Statement Period                      584,947.35
                 Total Enclosures                                                                                                   7


 DEPOSITS/ OTHER CRED ITS

Date              Description                                                                                                             Amount
0610412018       Opening Deposit                                                                                                          5200.00
06 105 /2018     Deposit                                                                                                                512,344.36
06 /05 / 2018    Deposit                                                                                                                576,671.03


 CHECKS

Check Number         Date                 Amount           Check Number        Date          Amount
   2702             06 ·28                $896.75            2704           06·29        $2.042.65
   2703             06·27                  560.00            2705           06-28        51,155.00


 OTHER DEBITS

Date              Description                                                                                                              Amount
06/14/2018        ACH Payment INTUIT CHECKSFORM 5066781 21000025844736800                                                                  510.64

 TOTAL OVERDRAFT FEES

                                                       Total For This Period          Total Year-to-Date
        Total Overdraft Fees                                     $0.00                         $0.00
        Total Return Item Fees                                   $0.00                         50.00


 DAILY ENDING BALANCE

Date                  Balance                                  Date                Batance                            Date                 Balance
06·04                 5200.00                                  06-14            $89,101.75                            06-28             586 ,990.00
06·05              589,2 15.39                                 06-27            589,041.75                            06 ·29            $84,947.35




 MEMBER FDIC                     @
                                 . :'. L . .... ..
                                                                                                                               NYSE Symbol "PB"

                                 l ENDER
          Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 34 of 36

GARDEN OAKS MAINTENANCE ORG , INC.                                                                                              Account No         217186856
                                                                                                                                                   Page 2 of 4

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6/';/2019                                                                       S2 00.00      6/5/20 18                                            $12.314.36

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6/5/2018                                                                  $76,671.03          6/28/2018                         2702                  $896.75

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6/27/2018                                 270)                                       $60.00   6 / 29/ 2 018                     2704                $2,042.65

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6 / 28 / 20113                            2705                              $1,155.00
      Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 35 of 36
                                                                                                              Page 3 of 4




                     IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR STATEMENT

If you believe there is an error on your statement, or if you need additional information about a transaction listed on
your statement, or if you believe a substitute check does not accurately reflect a transaction, send a written letter on
a separate sheet to P.O. Drawer G, EI Campo, Texas 77437 as soon as possible. We must hear from you no later than
60 days (40 days for Check 21 expedited recrediting rights) after we sent you the first statement on which the error
or problem appeared. Otherwise, the account will be considered correct. You can telephone us with inquires at your
local banking center or at 800-531-1401, but doing so will not preserve your rights.

    In your letter, give us the following information:
    1} Your name and account number.
    2} The dollar amount of the suspected error.
    3} Describe the error or the transfer you are unsure about, and e)(plain as clearly as you can why you believe it
         is an error or why you need more information.
    4} For a substitute check explain why an original or better copy is necessary and provide sufficient information
         to identify the substitute check.

 The Check 21 Act procedures and expedited recrediting rights are only available to consumer customers. Check 21 will
result in a reduction in the time between the cashing and clearing 0/ a check. Please ensure that you hove available
lunds on deposit belore writing checks to avoid the risk 01 being overdrawn.

In case of errors or questions about your electronic transfers, we will investigate your compiaint and will correct
any error promptly. II we take more than 10 business days to do this, we will credit your account for the amount you
think is in error so that you have use of the money during the time it takes us to complete the investigation.


TO REPORT LOST OR STOLEN PROSPERITY BANK DEBIT CARD, CALL YOUR LOCAL BANKING CENTER. AFTER HOURS, CALL 800·6B4-2132.




                     THIS IS PROVIDED TO HELP YOU BALANCE YOUR STATEMENT



      YOUR BALANCE
                                                                                     CHECKS OUTSTANDING
  SHOWN ON THIS STATEMENT           $------
                                                                                  NO_                AMOUNT
        ADD + (IF ANY)
     DEPOSITS NOT SHOWN
      ON THIS STATEMENT
                                    $------


             TOTAL                  $------


      SUBTRACT - (IF ANY)
     CHECKS OUTSTANDiNG             s------
            BALANCE
                                    s=====                                  MISC_ CHARGES


                   SHOULD AGREE WITH YOUR CHECK BOOK BALANCE                    TOTAL




          PLEASE EXAMINE THIS STATEMENT AT ONCE. NOTIFY US iN WRITING OF ANY CHANGE OF ADDRESS
               Case 18-60018 Document 40 Filed in TXSB on 07/30/18 Page 36 of 36

                                                                                                                                                                   Page 4 of 4



Oklahoma                                                Schul~nburB                  979·'43·2500     HamtanArea                               Wharton               919-282-2000
~~tra l O~llth.olIl!       A[!l;:l                      Seguin                       BlO-379·2122     AnBleton               9 7So84g·6404     Winnie                409-29&-lOCO
Edmond                               405-359·9199       Smithvillr                   512-237·9649     BayClty                979-245-4200      ~uth TI!!31 Are;)
Norman                               405·]07·9066       Thorndale                    512·898·2503     Beaumonl               409·898·2128      Allee                 361·664·5446
Oklahoma City                                           Weimar                       979·725·9401     Bellaire               713·666-2511      Anns;u Pass           361-758·5624
    2ud 51                       405·94]·8411           OallaslFt l ~oC!b Area                        Cleveland              281-592·266 1     Beeville              3&1-)58·3612
    Downtown                     405-228-0021           Arlington                    817·6]5-2900     Cypress                                  Corpus Chrifti
    bpte$1WaV                    405-810-4920           ' d,                         817· 378-2240      Fairfield            28].371-0080        Calitl1en           361-387·52]5
    '·240                        405· 616-2071         Billleh Sprlnss               972·28&-5452       U.S. 290             281·17H)062         Carmel              ]61-814·29)5
   Memorial                      405·748-3489          Cedar Hili                    972·291·6246     Dayton                 936-258·7681        Northwest           361-241-6817
   Northwt's l                   405 ·722·7775         Dallas                                         East Bernard           919·335·1573        Padre Island        361-949·1846
Tu luAroa                                                 Abra ms Cenlle             972·238·9292     EI Campo               979· 543·2200       Saratoga            361-854-0728
Owasso                           918·748·7140              Camp Wisdom               214-467·6996     Gatv eston             409· 762 ·2103      nmber8~tc           361·986-7800
Tulsa                                                      Kleu                      214·)71·6000     Graves                 409·962·8458         Waler 5t           361·887·8771
  Ga rnett                       918·748·7110              Preston ForC'St           972-661-0399     He mpstead             979·826-2431      Cuero                 361· 275· 2374
  HaNald                         9 18·748-4000             Preston Rd                972·441-4580     Hitchcock              409·986-5547      Edna                  361-782-3513
  Memo,ial                       918·748-4001             Turtle Creek               214-5 21-4800    Hounon                                   Goliad                361-645·3246
  Sheridan                       918·7.1.8-4002           Turtle Cret'k· LPO ·       214·780-2000        Ald ine             28H87·7600        Gonzales              830-672-7551
  5 Harvard                      918·146-4110             West moreland              214·330·3800        Alief               713-566-2511      Halleruville          361-798-4)57
   Ut ica 5quate                 918·748-4299          Ennis                         972-875·846J        Beltwav West        281-970·9636      Kingsville            361-592·2636
  Utica Tower                    918·748-4110          fort Warth                                        Cop perfield        281·345·9555      Math is               361·547-3336
  Yale                           918·748-1 100            5tockYi)rds                817· 378·2100       Do .....ntown       713·693· 9250     Palados               361-972->481
                                                       frisco                                            Eutex Freeway       281-449·8282      Pert LaVi)ca          )61·552-7411
Texas                                                     Gaylor d Pa rkway          214·619-2265        Gessner             713· 242-1030     Portland              361·643·2565
B [ll!!!l~!I!::I!l ~JiHIQ!! a [ ~il                        Main5t                    972·712·4499        Gladebrook          832:· 249·7600    Ro ckpo rt            361·729·741 1
8ryan                                                  Gainesville                   940-668·8531        Heights             113-861-1125      Sinton                361·364-1261
  29th SI                      979-260-3252            Glen Rose                     254· 898-0551       Hllhway 6 Wen       281-.496-9103     Talt                  361 ·528-2566
  E Un iversity Dr             979·731·1750            Granbury                      8J7-573-O]OO        Uttle York          713· 242-1010     Victoria
  N Teu ~ Ave                  979·778·2900            Hahom Citv                    817·)78·2230        Medical Cenle r     71].693·9275         Colony Cn:d:       361·573-1088
  5 Te_as Ave                  979·779- 1111           Kell~r                        817·318·2210        Memorial Or         713-46S·03OO         MainSt             361-573·6321
CaldweU                        979-567-4665            McK inney                                         Norths ide          71]-226-5300         Navarro            361·788· 2700
ColieSe 5tation                                           Central Expy               972-548-4000        Rlvt'r Oaks         713·693·9400         NOrth              361-573-1993
  CreKent Pointe               979-774-1700               5tonebrldge                972·543·1)67        SW Medical Ct,      713-777-0760      Yoakum                361·293·5221
  Longmire Or                  979·694-2222            Mesqui te                     972·9 13·3~7        Tanglewood          713·69).9225      Yorktown              361·564·229J
  Rock Prairie Rd              979·764·9443            Muenster                      940-759·5000        The Plaza           713 ·666-2511     ~~J !i:;."1 Am!!
  50uthwe\t Pkwy               979·693-1063            Plana                                             Uptown              713-892-4700      Abilene
  Tower ro ln1                 979-690-4780               Midway                     972-471·SOO(l       Waulh Or            71)· 693·9100        AntilleyEld        32!;-794·1JCO
   Wellborn Rd                 979·680-03S7               Preston Rd                 469·229-9334        We" UnMflity        281·902-1650         8~now SI           325-794-2000
Heune                          979·279-3438            Red Oak                       972-6 17·7377       Weslheimer          71)-781-7171         Cypn:H 51          325-794- 1000
Huntsville                     9 36-291-3232           Roanoke                       817-378-2250        Win                 713-242-1060         JudIe Ely          325-794-3100
Madisonville                   936·348-2711            Sachse                        972-530-7999        Woodcreek           281-443-7600         Mocking bird       32>794-3200
Navasola
New Waverly
                               936-825-2274
                               936·344-6691
                                                       5a nser
                                                       The Colo ny
                                                                                     94().458·74Q4
                                                                                     972-625·2002
                                                                                                      ''''IOnco Ranch Blvd   281·693-6800
                                                                                                                                               Big Spring
                                                                                                                                               Bro..... nfield
                                                                                                                                                                     432·267·5555
                                                                                                                                                                     806-637.7626
                                                       Wauhachie                     972 ·935·9023      Fry Road             713-666-2:511     Brownwood             325-646·6500
GIUlS!:!!1l r:-iU Ar!:i!
Austin                                                 Weatherford                   817-594-(1533      Grand Parkway        713·666·251 1     Cisco                 254-.442· 2211
                                                                                                        Pin Oak              71)·666· 2511     Comamhe
  Allandille                   512·407· 6070           EaU lens !~!l:i!                                                                                              325· 356-75 17
                                                       Alhens                                           Spring Green         281·574·8680      Early                 325-643·2748
  Congren                      512-472-5431                                          903·675-8511
                                                                                                      Uberty                 936-316-5731      Floydilda
  Northland                    512·458-1384            8loomi" g Grove               903-695·1311                                                                    806-983·3725
                                                                                                      Magnolia                                 Go rman
  Oak Hill                     512-891- 1800           ca nton                       903·567-4181                                                                    254-734·2254
                                                                                                        Goodson Rd           281-35&-S211      l evelland            80&-894-5296
  Re\urch 81vd                 512·331· $402           Carthage                      903·693·7161
                                                                                                        Parkway              936-442·5915      littlefield
  West lake                    512: ·485-7600          CorsIcana                     903·872-0077                                                                    806-385·5}49
                                                                                                      Mont Belvieu           281-57&-544 4     Lubbock
Butlop                         512-308·9957            Crod:ett                      916·546-2265
                                                                                                      Nederland              409-727-2:153        4th St
Canyon lake                    830·964-6600            Eust~ce                       903·425·7031                                                                    806-784-4000
                                                                                                      Needville              97~19 3 -42 1 1
Cedar Pa rk                    512·260-9199            Gilmer                        903·843-5525                                                 66th5t             806-767·6600
                                                                                                      Pearland                                    B2nd 51
Oime Bo~                       979-884·2354            Grape land                    936-687-4814                                                                    806-767-8200
                                                                                                        Shadow Creek         713-)40·0652         86th 51            806-474·3000
Drippi nll Spring~             512·85B-I256            Gun 8arrel City               903·887·3331
                                                                                                      Richmond                                    98thS,
E l ~ in                       512·285·3311            Jacksonville                  903·586·9861                                                                    806·79B-9810
                                                                                                        Pecan Grave          281·762·6700         Avenue Q
FI~ tonia                      361 · 865·2953          Kerens                        903·U6-2222                                                                     806-767-7000
                                                                                                      Rosenbef8              8 32-595-7980        N University       806-767-7240
Geor~etoWTI                    512· 869-4150           longview                      903·291·5500
                                                                                                      50uth Houston                               fe EdS Tech        806-74Q.l4OO
King~land                      325· 388-4551           Mt. Ve rnon                   903·588· 224)
                                                                                                        Pasadena             713-943·8831      Merke l               325-928·4728
lit Cir.n~t'                   979·968·8451            Palenlne                      903· 729-3228
                                                                                                      Sprins                 832-717·3260      Midland
l.akew~y                       512·261-1122            Rusk                          903·683·2286
                                                                                                      Susar Land                                  wadley             432-694-6100
l e_ington                     979-773..4417           Seven Polnu                   903-432-3611
                                                                                                        First Colony         2:81-902· 1750       Wall St            432-571-4960
Uberty Hill                    512 ·778·5355           Teague                        2;4-139·2558
                                                                                                        50uthwest Fwy        281·269-7200      Odessa
New Braunfe ls                                         Tyler
                                                                                                      The Woodlands                               Grandview          432·550-33]4
   Down town                   830-608·5501               Beckham                    903-59]·1767
                                                                                                        1·45                 281-292-6691         Grant
   GruenI.'                    830-629-8910               58roadway                  903-939-2265                                                                    432:·580·2300
                                                                                                        College Park         713-66&-2 5 11       Kermit Highway
Pfeaunton                      830· 569·5561              University Blvd            903-566-5575                                                                    432·333·3400
                                                                                                        Re search Fo'e~t     83Z-663-4SOO         Parkway            432·580-2380
Round Ro( k                    512 · 248-0 101         Winnsboro                     903·342·5205
                                                                                                      Tomball                281-2:90-0404     Plainview
San Anlon lO                                                                                                                                                         800-293·3888
                                                                                                      Walle ,                936-372·9404
   San Pedlo N                 210-S26-2 161                                                                                                   San Angelo            325·949-0222
                                                                                                      Wcb~ler
                                                                                                                                               51alon                806·828·4282
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                                                                                                                                               Snyder                325-573-4041
                                                                                                      West Columbia          979·)45-)141
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